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                                                            Jonathan Gross <jonathansgross@gmail.com>



Technology Approval Form
1 message

Taylor, Karli <ktaylor@nnrj.state.va.us>                                     Thu, Oct 20, 2022 at 3:05 PM
To: "jon@clevengerfirm.com" <jon@clevengerfirm.com>
Cc: "Barnes, James" <jbarnes@nnrj.state.va.us>


 Good Afternoon,



 Please see attached technology approval form. You will need to fill this out and send back before
 your scheduled appointment date.



 Respectfully,



 Karli Taylor
 Northern Neck Regional Jail
 Family Liaison/Video Arraignment/Programs Support
 ktaylor@nnrj.state.va.us
 Phone: (804)-333-6419

      Technology form (1).pdf
      87K
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